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UNITED STATES DIS'I`RICT COURT
for
WESTERN DISTRICT OF TENNESSEE

  

U.S.A. vs. Teresa Fortner Docket No. 2:02CR2042§-Q;:‘:. LL
2:02CR20417-UI "`) m

Petition on Probation and Supervised Release

COMES NOW Chrisg J. Henson PROBATION ()FFICER OF THE COURT presenting an
official report upon the conduct and attitude of Teresa Fortner who was placed on supervision by the
Honorable Samuei H. Mays, Jr. sitting in the Court at Memphis, TN, on the 20th day of June , M, who
fixed the period of supervision at three 13 1 years* , and imposed the general terms and conditions theretofore
adopted by the Court and also imposed Special Conditions and terms as follows:

 

 

l. The defendant shall make regular restitution payments towards restitution amount, on a payment
schedule to be determined by the Probation Ofticer.
2. The defendant shall be prohibited from incurring new credit charges, opening additional lines of

credit, or making an obligation for any major purchases without the approval of the Probation Officer.
The defendant shall provide the Probation Offlcer access to any requested financial information

4. The defendant shall participate as directed in a program approved by the Probation Offlcer for
treatment of narcotic addiction or drug or alcohol dependancy which may include testing for the
detection of substance use or abuse.

The defendant shall maintain lawful hill-time employment

The defendant shall obtain her General Education Development (G.E.D.) Diploma.

7. The defendant shall pay restitution in the amount of $2,576. l 8. (Balance: $2,027.18)

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* Terrn of Supervised Release Began: June 20, 2003, after a sentence of time served.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT F()R CAUSE AS FOLLOWS:

Since beginning supervision Ms. Fortner has been struggling to make restitution payments due to
unemployment and low Wages. Aiter reviewing Teresa Fortner’s finances, it appears 5% of her gross income
monthly income could be paid towards her obligation

PRAYING THAT THE COURT WILL ORDER that Teresa Fortner’s restitution payments be set at
five percent (5 %) of her gross income per month.

 

  

 

 

 

ORDER OF COURT pectfull,
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part the records in the above case. \\1;\\@ 03 °<\ United S robation Officer

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L@:rj( States Distn'ct Judge go°`\’\@e‘°% Date: Mav 5. 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:02-CR-20429 was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

